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JAN l 8 2012

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF MISSISSIPPI
DELTA DIVISION

 

DARRIS SIMS,

Plaintiff,
vs. civil Accion No. 7/"‘ i Y/C \/OO 5 ~ P» \/

 

INCA PRESSWOOD-PALLETS, LTD.,

Defendant.

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COMES NOW, Plaintiff, Darris Sims, by and through undersigned counsel, and files this,
his Complaint against Defendant, INCA Presswood-Pallets, LTD., for personal injuries and for cause
of action would show unto the Court, the following facts, to-wit:

PARTIES

l. Plaintiff, Darris Sims, is an adult resident citizen of Lee County, Arkansas, residing
at 480 Center St., Marianna, Arkansas 72360.

2. Defendant, INCA Presswood-Pallets, LTD, is a corporation organized and existing
pursuant to the laws of the State of Delaware, but is registered in and is doing business within the
State of Mississippi, and may be served with process of this Court by serving its registered agent for
service of process, Thomas S. Shuller, 107 West McLaurine, Sardis, Mississippi 39666.

JURISDICTION
3. This Court has jurisdiction of this cause of action pursuant to 28 U.S.C. §1332, as

the matter in controversy exceeds, exclusive of interest and costs, $75,000.00.

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4. Venue is proper in this Court in that the accident giving rise to this cause of action

occurred or accrued in Panola County, Mississippi.
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5. On or about April 12, 2010, Plaintiff, driving his lS-Wheeler truck, went to INCA
Presswood-Pallets, LTD., to receive a load of pallets. Plaintiff pulled up to the loading dock to have
his truck loaded. At all pertinent times herein, Plaintiff was a business invitee while on the premises
of INCA Presswood-Pallets LTD.

6. Plaintiff was on the loading dock watching his truck being loaded. At all times,
Plaintiff was exercising due care for his safety and others in the vicinity. Plaintiff, while waiting for
his truck to be loaded, leaned against a rail located on the loading dock. Suddenly, and without
warning, the rail gave way, causing Plaintiff to fall approximately four to six feet upon his head,
shoulder, and knee causing serious and permanent injury to him.

COUNT 1
NEGLlGENCE
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7. Defendant, INCA-Presswood Pallets, LTD., at all times pertinent hereto, had a duty
to business invitees, such as Plaintiff, to exercise reasonable care to keep the premises in a
reasonably safe condition or to warn invitees of dangerous conditions, not readily apparent, which
the owner or occupant knows of or should have known the existence of.

BREACH OF DUTY

8. Defendant breached its duty to the Plaintiff in that a dangerous condition existed on

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the premises by allowing a rail to exist upon the premises, which had not been properly affixed to
the concrete, so as not to give way when Plaintiff leaned upon it.

9. This condition existed at a time when Defendant knew or should have known of the
dangerous condition created by the loose or improperly affixed rail. Defendant neither warned the
Plaintiff of the dangerous condition then and there existing, nor remedied the dangerous condition.

CAUSATION
lO. As a direct and proximate result of the aforesaid negligence of the Defendant, INCA

Presswood-Pallets, LTD., the Plaintiff suffered damages.

DAMAGES
ll. Plaintiff suffered damages to his body and mind, to include the following injuries:
a. Injuries to his back, knee and shoulder;
b. Mental and emotional pain and suffering and psychological damage (past and
present);
c. Loss of wages (past, present and future);
d. Medical expenses ( past and present);
e. Loss of wage earning capacity; and
f. Physical pain and suffering (past and present).

WHEREFORE, PREMISES CONSIDERED, Plaintiff brings this cause of action against
Defendant and prays that process issue to Defendant to appear and answer the allegations contained
herein, Plaintiff demands judgment of and from Defendant, in the amount of $750,000.00, all costs
in this action, and any and other relief which Plaintiff is entitled. If Plaintiff has prayed for improper

or inadequate relief, then he now prays for adequate relief in the premises

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Plaintiff demands trial by jury.

RESPECTFULLY SUBMITTED, this the Z 0 2 23 da January, 2012.

 

 

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